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             3Jn tbe Wniteb ~tates QCourt of jfeberal QCiaims
                                           No. 14-1099C

                                      (Filed: February 20, 2015)

                                     (NOT TO BE PUBLISHED)
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                                                )                                FEB 2 0 2015
 PASCALE PIERRE,                                )                              U.S. COURT OF
                                                )                             FEDERAL Cl.AfMS
                        Plaintiff,              )
                                                )
        v.                                      )
                                                )
 UNITED ST ATES,                                )
                                                )
                        Defendant.              )
                                                )
 **********************************

       Pascale Pierre, prose, Atlanta, GA.

        Veronica N. Onyema, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendant. With her on the brief
were Joyce R. Branda, Acting Assistant Attorney General, Civil Division, Robert E. Kirschman,
Jr., Director, and Deborah A. Bynum, Assistant Director, Commercial Litigation Branch, Civil
Division, United States Department of Justice, Washington, D.C.


                                      OPINION AND ORDER

LETTOW, Judge.

        Plaintiff, Pascale Pierre, alleges numerous statutory and tortious violations by
governmental officers and officials committed during her service as a police recruit for the
Atlanta Police Department. See Compl. at 1-2, 7. She names as defendants the United States
of America, the Department of Justice, the Department of Labor, the Atlanta Police Department,
the City of Atlanta, the Atlanta City Council, and 38 individual officers, officials, and civilian
employees. Id. Pending before the court is the government's motion to dismiss for lack of
subject matter jurisdiction pursuant to Rule 12(b)(l) of the Rules of the Court of Federal Claims
("RCFC") and for failure to state a claim upon which relief can be granted pursuant to RCFC
12(b)(6). See Def.'s Mot. to Dismiss ("Def.'s Mot.") at 1, ECF No. 5.
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                                        BACKGROUND

        The dispute currently pending before the court ostensibly arises from events that occurred
in 2012, when Ms. Pierre served as a police recruit in the homicide unit of the Atlanta Police
Department. Compl. at 2-3 . The Department first hired Ms. Pierre in October 2011 and at that
time informed her that to earn admission into a Police Academy class, recruits were required to
participate in remedial training and remain at their administrative assignments until they passed a
Physical Training Test ("PT-Test"). Compl. at 3. The PT-Test required recruits to complete a
1.5 mile run within fifteen minutes and thirty seconds and complete an obstacle course within
two minutes and ten seconds. Compl. at 3.

        Ms. Pierre attended the requisite remedial training until March 2012, when she pulled a
ligament in her right wrist while practicing on the obstacle course wall-jump. Compl. at 3. The
Atlanta Police Department sent Ms. Pierre to an orthopedic specialist for treatment. Compl. at 3.
After receiving an MRI, X-ray, and examination, Ms. Pierre's wrist was bound in a cast and she
was placed on a light-duty order. Comp!. at 3. Ms. Pierre continued to work and attended
weekly therapy sessions until she was released from therapy on August 3, 2012. Compl. at 3-4.
On August 6, 2012, she returned to remedial physical training and on September 21, 2012, she
was released to regular duty on an "as tolerated" order from her treating physician. Compl. at 4.

        Ms. Pierre claims that during the first week of September 2012 she passed the PT-Test,
running 1.5 miles in fourteen minutes and 46 seconds and completing the obstacle course in two
minutes and one second. Compl. at 4. Her PT-Test score was never recorded but rather shouted
"military style," and Ms. Pierre never received a paper copy. Compl. at 4. At that point,
believing that she was about to enter the Academy class, Ms. Pierre informed her superior,
Sergeant C. Condon, that she suffered from Crohn's disease and would need a schedule
adjustment so that she could obtain infusion therapy every eight weeks. Compl. at 4. 1
Afterward, when the roster for the new Academy class was distributed, Ms. Pierre discovered
that she was not listed and Sergeant Concon advised her to continue attending remedial physical
training with the new recruits rather than preparing for Academy entry. Comp!. at 5.

         Ms. Pierre followed Sergeant Condon's instructions and continued attending remedial
physical training; however, on September 12, 2012, she was injured again after falling off of a
hurdle. Compl. at 5. Despite suffering "a lot of pain," she did not go to the Police Department's
clinic that day. Comp!. at 5. When she requested permission to see the City of Atlanta's clinic
few days later, her request was denied and she was required to continue attending physical
training. Comp!. at 5. That same month, Ms. Pierre was also transferred from the homicide unit
to the property control unit/annex. Comp!. at 5. After her transfer, Ms. Pierre privately sought
and obtained medical assistance, and on October I 0, 2012, her treating physician placed her on a
sedentary work order, which she presented to her superiors Sergeant Condon and Lt. Sheffield.
Compl. at 6-7. Despite the order, Ms. Pierre was not transferred from the property control
unit/annex, which she describes as "fast-paced" and manual-labor-intensive. Comp!. at 7.
Eventually, on November 1, 2012, Ms. Pierre was terminated for failure to meet probationary
requirements. Compl. at 8.


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        Crohn's disease is a chronic inflammatory disorder that affects the gastrointestinal tract.
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          While working in both the homicide unit and the property control unit/annex, Ms. Pierre
claims that she was subject to a hostile work environment and was the victim of "silent
bullying," Compl. at 5, race-based jokes targeting her Haitian heritage, discrimination based on
her medical condition, and mind games including "gas-lighting," i.e. "a form of mental abuse
where false information is presented with the intent of making victims doubt their own memory,
perception, and sanity," Compl. at 12, 15. Ms. Pierre alleges that the defendants "blatantly and
repeatedly disregarded and violated [f]ederal [l]aws and [the] Law Enforcement Oath of Honor,"
Compl. at 2, and conspired to deprive her of a "20-year career," Compl. at 14. 2 In terms of
relief, Ms. Pierre demands $3 million in compensation, in addition to legal and administrative
fees, for "enduring (Americans with Disabilities Act) discrimination for requesting medical
accommodation" and defamation and for the "loss of[] a 20[-]year rewarding career, 20 years of
lo[ st] salary ... loss of a pension plan, [loss of a] 401 k plan" and loss of healthcare and "all
opportunities and experiences that [p ]olice [o]fficers acquire during their career[ s]." Compl. at
18. In addition, Ms. Pierre requests that the court criminally prosecute the named defendants and
consider the imposition of "fines and imprisonment of not less than 36 months" and "any further
relief which the [c]ourt may deem appropriate." Comp I. at 18-21.

                                STANDARDS FOR DECISION

        Before addressing the merits, a court "must satisfy itself that it has jurisdiction to hear
and decide a case." Hardie v. United States, 367 F.3d 1288, 1290 (Fed. Cir. 2004) (quoting
PIN/NIP, Inc. v. Platte Chem. Co., 304 F.3d 1235, 1241 (Fed. Cir. 2002)) (internal quotation
marks omitted). The plaintiff bears the burden of "alleg[ing] in his pleading the facts essential to
show [subject matter] jurisdiction" by a preponderance of the evidence. McNutt v. General
Motors Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936); see also Reynolds v. Army & Air
Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). When assessing a motion to dismiss
under Rule 12(b)(1) for lack of subject matter jurisdiction, the court will "normally consider the
facts alleged in the complaint to be true and correct." Reynolds, 846 F.2d at 747 (citing Scheuer
v. Rhodes, 416 U.S. 232, 236 (1974)). 3



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         Ms. Pierre in her complaint lists a series of specific legal claims based upon both civil
and criminal statutes, including, inter alia, defamation, invasion of privacy, a violation of the
Civil Rights Act of 1991, Pub. L. No. 102-166, 105 Stat. 1071(codified as amended in scattered
sections of the United States Code, including 42 U.S.C. §§ 1981, 2000e), withholding records
and documents, 18 U.S.C. § 2071, conspiracy against rights, 18 U.S.C. § 241, deprivation of
rights under color of law, 18 U.S.C. § 242, and violations of the Americans with Disabilities Act
of 1990, 42 U.S.C. § 12101 et seq. See Compl. at 16-17.
       3
         Although generally the court holds pleadings filed by prose plaintiffs to "'less stringent
standards than formal pleadings drafted by lawyers,"' Estelle v. Gamble, 429 U.S. 97, 106 (1976)
(quoting Haines v. Kerner, 404 U.S. 519, 520-21 (1972) (per curiam)), "[t]his latitude, however,
does not relieve a pro se plaintiff from meeting jurisdictional requirements," Bernard v. United
States, 59 Fed. Cl. 497, 499 (2004), afj"d, 98 Fed. Appx. 860 (Fed. Cir. 2004); see also Henke v.
United States, 60 F.3d 795, 799 (Fed. Cir. 1995). Therefore, Ms. Pierre nonetheless "bears the
burden of establishing the [c]ourt's jurisdiction by a preponderance of the evidence. Riles v.

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         Ms. Pierre premises this court's jurisdiction on the Tucker Act, 28 U.S.C. § 1491. See
Compl. at 1. The Tucker Act grants this court "jurisdiction to render judgment upon any claim
against the United States founded either upon the Constitution, or any Act of Congress or any
regulation of an executive department, or upon any express or implied contract with the United
States, or for liquidated or unliquidated damages in cases not sounding in tort." 28 U.S.C.
§ 1491(a)(l). The Act waives sovereign immunity, allowing a claimant to sue the United States
for monetary damages . United States v. Mitchell, 463 U .S. 206, 212 (1983). The Tucker Act
itself, however, does not provide a substantive right to monetary relief against the United States.
United States v. Testan, 424 U .S. 392, 398 (1976); see also Martinez v. United States, 333 F.3d
1295, 1321 (Fed. Cir. 2003) (en bane). "A substantive right must be found in some other source
of law." Mitchell, 463 U.S. at 216. To fulfill the jurisdictional requirements of the Tucker Act,
the plaintiff must establish an independent right to monetary damages by identifying a
substantive source of law that mandates payment from the United States for the injury suffered.
Testan, 424 U.S. at 400; see also Ferreira v. United States, 501F.3d1349, 1351-52 (Fed. Cir.
2007) (quoting Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (en bane in
relevant part)).

                                           ANALYSIS

        Ms. Pierre's claims fall outside the realm of this court's jurisdiction. First, Ms. Pierre
raises claims against improper parties. She challenges solely the conduct of the Atlanta Police
Department and its employees; all of the alleged actions which she identifies occurred in Atlanta,
Georgia and were taken or performed by local government actors. This court does not have
jurisdiction to hear claims against states, localities, or state and local goverrunental entities,
officials, or employees. " [T]he only proper defendant for any matter before this court is the
United States, not its officers nor any other individual." Stephenson v. United States, 58 Fed. Cl.
186, 190 (2003) (emphasis in original) (citing United States v. Sherwood, 312 U.S. 584, 588
(1941)); see also 28 U.S.C. § 1491. Although Ms. Pierre in her list of"Parties" names the
Department of Justice, the Department of Labor, and the United States of America, she fails to
identify any relevant act committed by a federal government agent. See Compl. at 2; see also
Def. 's Mot. at 4. Because Ms. Pierre's claims are limited to those against the Atlanta Police
Department and its employees, the court does not have jurisdiction to entertain them.

        Moreover, Ms. Pierre's complaint fails to allege any facts demonstrating the existence of
a contract between her and the United States or to identify an applicable money-mandating law
or regulation that would allow the court to exercise jurisdiction under the Tucker Act. See
Testan, 424 U.S. at 398 ; Mitchell, 463 U.S. at 215-18; see generally 28 U.S.C. § 1491(a)(l). Ms.
Pierre's claims are limited to purported discrimination based on her ethnicity and medical
condition, and claims of tortious acts and criminal misconduct relating to her "hostile work
environment" and PT-Test results. See Compl. at 16-17. This court does not possess jurisdiction
to adjudicate tort claims. See Shearin v. United States, 992 F.2d 1195, 1197 (Fed. Cir. 2003)
(noting that the Tucker Act limits this court's jurisdiction to "cases not sounding in tort")
(quoting 28 U.S.C. § 1491(a)(l)) (emphasis in original). In addition, this court lacks jurisdiction

United States, 93 Fed. Cl. 163, 165 (2010) (citing Taylor v. United States, 303 F.3d 1357, 1359
(Fed. Cir. 2002)).


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     over claims arising under the criminal code. See Joshua v. United States, 17 F.3d 378, 379 (Fed.
     Cir. 1994) ("The court has no jurisdiction to adjudicate any claims whatsoever under the federal
     criminal code."); see Meschkow v. United States, 109 Fed. Cl. 637, 646 (2013) (dismissing
     claims brought under the federal Racketeer Influence and Corrupt Organization Act for lack of
     jurisdiction); see also Campbell v. United States, 229 Ct. Cl. 706, 707 (1981) (per curiam)
     (dismissing claims of treason and other criminal allegations for lack of jurisdiction). Finally, this
     court may not adjudicate claims alleging civil rights violations. See, e.g., Cottrell v. United
     States, 42 Fed. Cl. 144, 149 (1998) ("As courts have repeatedly held, there is no Tucker Act
     jurisdiction in the Court of Federal Claims to entertain claims involving race, sex, and age
     discrimination or other claims involving civil rights violations."); McCauley v. United States, 38
     Fed. Cl. 250, 265-66 (1997), aff'd, 152 F.3d 948 (Fed. Cir. 1998) (noting that the Court of
     Federal Claims does not have jurisdiction over civil rights claims brought under 42 U.S.C. §
     1983 or claims arising under the Americans with Disabilities Act). In sum, Ms. Pierre's claims
     do not confer jurisdiction on this court to hear her case. 4

                                               CONCLUSION

             For the reasons stated, the government's motion to dismiss is GRANTED, and
     Ms. Pierre's complaint is dismissed pursuant to RCFC 12(b)(l) for lack of subject matter
     jurisdiction. 5 The clerk shall enter judgment in accord with this disposition.

            No costs.




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            It is so ORDERED.



                                            Judge




            4
              Given that the court has resolved the case on jurisdictional grounds, it need not address
     the government's motion to dismiss under RCFC 12(b)(6) for failure to state a claim upon which
     relief can be granted.

            5
                Ms. Pierre's motion for leave to proceed informa pauperis is GRANTED.
                                                       5
